22 F.3d 1104NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.
    TRI-O, INC., Plaintiff-Appellant,v.The UNITED STATES, Defendant-Appellee.
    No. 93-5165.
    United States Court of Appeals, Federal Circuit.
    March 14, 1994.
    
      Before RICH and LOURIE, Circuit Judges, and MILLS, District Judge*
      Judgment
      PER CURIAM.
    
    
      1
      AFFIRMED.  See Fed.Cir.R. 36.
    
    
      
        *
         Honorable Richard Mills, District Judge, United States District Court for the Central District of Illinois, sitting by designation
      
    
    